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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                      CASE NO. 1:18-CV-25106-WILLIAMS/MCALILEY

   UNITED AMERICAN CORP.,

                   Plaintiff,

   v.

   BITMAIN INC., SAINT BITTS LLC d/b/a
   BITCOIN.COM, ROGER VER, BITMAIN
   TECHNOLOGIES LTD., BITMAIN
   TECHNOLOGIES HOLDING COMPANY,
   JIHAN WU, PAYWARD VENTURES,
   INC. d/b/a KRAKEN, JESSE POWELL,
   AMAURY SECHET, SHAMMAH
   CHANCELLOR, and JASON COX,

                Defendants.
   ____________________________________/


         DEFENDANTS’ JOINT RESPONSE TO UNITED AMERICAN CORP.’S
        AUGUST 9, 2019 STATUS REPORT REGARDING SERVICE OF PROCESS

         Defendants Bitmain Inc., Shammah Chancellor, Jason Cox, Payward Ventures, Inc., and

  Jesse Powell (collectively, “Defendants”) respectfully submit this Response to the August 9,

  2019 Status Report Regarding Service of Process (“Second Status Report”) filed by Plaintiff

  United American Corp. (“UAC”) [ECF No. 81].

         UAC’s Second Status Report demonstrates that UAC has failed to promptly serve the

  other parties in this litigation (St. Bitts LLC, Roger Ver, Bitmain Technologies Ltd., Bitmain

  Technologies Holding Company, Jihan Wu and Amaury Sechet—collectively, the “Non-U.S.

  Defendants”). When UAC filed its Complaint on December 6, 2018—over eight months ago—

  it explicitly acknowledged that five of the twelve Defendants were foreign entities or residents.

  See Compl. [ECF No. 1] ¶¶ 8, 9, 10, 11, 15. UAC later acknowledged in its First Status Report
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  that an additional Defendant, Jihan Wu, is also not a U.S. resident and must be served in China.

  See UAC June 10, 2019 Status Report Regarding Service of Process (“First Status Report”)

  [ECF No. 71] ¶ 7 n.1. Yet UAC has not served any of these Non-U.S. Defendants.

         At a recent status conference, the Court “terminated on purely procedural grounds”

  Defendants’ motions to dismiss and ordered that the motions, the opposition and the reply briefs

  be re-filed “as is” no later than October 18, 2019. July 23, 2019 Order Following Telephonic

  Status Conference and Temporarily Terminating Motions to Dismiss [ECF No. 78] at 1-2 (“No

  later than ten days after either completion of service on all remaining foreign defendants, or

  the October 8, 2019, deadline to complete this service, Defendants may file a notice of their

  renewal of their motions to dismiss, and those motions shall be deemed refiled at that time, along

  with all responsive memoranda of law” (emphasis in original)). Defendants opposed the

  procedural termination because it would delay a ruling on their motions. UAC now seeks to

  delay those motions even further by suggesting in its Second Status Report that it will need more

  time, beyond the six months provided by the Court’s April 9, 2019 Order, to complete service.

  See Second Status Report ¶ 9 (“At this time, UAC believes the present deadline . . . may not

  afford UAC sufficient time . . . to effectuate service . . . .”). The Court should reject this

  overture.

         First, UAC has had more than enough time to serve the Non-U.S. Defendants. UAC first

  filed its Complaint over eight months ago and, by the October 8, 2019 deadline, will have had

  over ten months to complete service. This is after the Court previously ordered, sua sponte,

  UAC to serve all defendants by March 6, 2019, see Paperless Order Regarding Service [ECF No.

  37], and later extended this deadline to October 8, 2019 in its April 9, 2019 Order [ECF No. 59].

  The table below identifies the key dates and events relating to service of process in this litigation.


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                   DATE                                      EVENT

              December 6, 2018             UAC files its Complaint [ECF No. 1].


                                           The Court issues an order sua sponte
              January 18, 2019             requiring UAC to serve all unserved
                                           defendants by March 6, 2019 [ECF No. 37].


                                           UAC moves for an extension of time in which
                                           to serve Jason Cox and provides a “status
               March 6, 2019
                                           report” on its efforts to serve the Non-U.S.
                                           Defendants [ECF No. 47].


                                           The Court grants UAC’s motion for an
                                           extension as to Cox, and sets a telephonic
                April 4, 2019              status conference to discuss the time in which
                                           UAC must serve the Non-U.S. Defendants
                                           [ECF No. 57].


                                           First telephonic status conference with
                April 8, 2019
                                           Magistrate Judge McAliley [ECF No. 58].


                                           Magistrate Judge McAliley issues order
                                           provisionally allowing UAC six months to
                                           effect service on the Non-U.S. Defendants,
                                           requiring UAC to file status reports on June
               April 10, 2019
                                           10, 2019 and August 9, 2019. Magistrate
                                           Judge McAliley expressly notes that she
                                           would consider accelerating the deadline
                                           [ECF No. 59].


                                           UAC files first status report. It purports to
                                           have completed forms USM-94 for each Non-
                                           U.S. Defendant that resides in a country that
                                           participates in the Hague Convention. UAC
               June 10, 2019
                                           says that it expects to file a motion for the
                                           issuance of letters rogatory within a week to
                                           effect service on Saint Bitts LLC [ECF No.
                                           71].

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                       DATE                                              EVENT

                                                       Magistrate Judge McAliley issues order
                    July 12, 2019                      setting telephonic status conference [ECF No.
                                                       72].


                                                       After Magistrate Judge McAliley issues order
                                                       setting telephonic status conference, UAC
                                                       moves for the issuance of letters rogatory to
                    July 12, 2019
                                                       attempt service on Saint Bitts LLC, a month
                                                       after it indicated it would move. The motion
                                                       was three pages long [ECF No. 74].


                                                       UAC files its second status report [ECF No.
                   August 9, 2019                      81]. Still no Non-U.S. Defendant has been
                                                       served.



         Second, UAC’s First and Second Status Reports are intentionally vague as to the steps it

  has taken thus far, indicating that UAC has not been diligent in effectuating service. Critically,

  UAC does not identify any dates on which it took specified actions—e.g., when it delivered the

  USM-94 Request for Service Abroad of Judicial or Extrajudicial Documents (“USM-94”)

  packets to the relevant authorities in China, Grand Cayman, and Japan, or when it first requested

  translations of these materials. Defendants believe that UAC has not provided these details

  because the details demonstrate that UAC has not been diligent in effecting service as required

  by the Court’s Order.

         Indeed, the only facts before the Court today—relating to UAC’s attempts to effect

  service on Defendant Saint Bitts LLC—demonstrate UAC has not been diligent. UAC alleged in

  its Complaint that Saint Bitts LLC “is a limited liability company organized and existing under

  the laws of Saint Kitts and Nevis with its principal place of business in Tokyo, Japan.”

  Compl. ¶ 8. Yet UAC did not file its Motion for Issuance of Letters Rogatory for Saint Bitts

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  LLC until July 12, 2019, seven months after its Complaint and three months after this Court’s

  April 9, 2019 Order. UAC offers no excuse whatsoever for this considerable delay.

         Third, UAC’s delay in serving the Non-U.S. Defendants is delaying adjudication of

  Defendants’ motions to dismiss, which Defendants are confident will result in the dismissal of

  UAC’s ill-advised complaint. It is fundamentally unfair that Defendants have been required to

  live under the shadow of UAC’s meritless complaint simply because UAC has unreasonably

  delayed serving the Non-U.S. Defendants. Indeed, the flaws in UAC’s complaint identified in

  Defendants’ motions are fatal not just as to the moving Defendants, but as to the Non-U.S.

  Defendants as well. UAC’s dilatory service tactics should no longer be allowed to delay

  Defendants from being able to obtain a dismissal of UAC’s complaint.


  Date: August 27, 2019


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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 27, 2019, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

  to all counsel of record for the parties.

                                              /s/ Christopher R.J. Pace
                                              Christopher R.J. Pace




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